Case 1:01-cv-12257-PBS Document 6633-4 Filed 11/02/09 Page 1 of 25
Physician fee policy and Medicaid program costs
Jonathan Gruber; Kathleen Adams; Joseph P Newhouse
Case
The       1:01-cv-12257-PBS
     Journal of Human Resources; Fall 1997; Document       6633-4
                                            32, 4; ABI/INFORM Global   Filed 11/02/09 Page 2 of 25
pg. 611




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Case 1:01-cv-12257-PBS Document 6633-4 Filed 11/02/09 Page 3 of 25




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